CaSe 8-17-74991-|&8 DOC 15 Filed 12/06/17 Entered 12/06/17 11232:23

UNITED STATES BANKRUPTCY COURT Return Date: January 9, 2018

 

EASTERN DISTRICT OF NEW YORK Time: 10:00 am
X Chapter 13
In re: Case No.: l7-7499l-las

JOHN M.v HOEK,
Debtor.
X

 

NOTICE OF MOTION FOR AN ORDER AVOIDING THE LIENS OF
CITIBANK, N.A. AND ALADDIN FUEL SERVICE1 INC.

PLEASE TAKE NOTICE, that upon the annexed application of John M. Hoek (the
“Debtor” herein) by his attorneys Richard L. Stern, P.C., the undersigned Will move this Court
before the Honorable Louis A. Scarcella, United States Bankruptcy Judge, on the 9th of
January, 2018 at 10:00 am, at the United States Bankruptcy Court, 290 Federal plaza,
Courtroom 970, Central Islip, New York ll772, for an Order avoiding the liens of Citibank,
N.A. and Aladdin Fuel Service, Inc.

PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief sought must
be in writing and filed with the Clerk of the Court, United States Bankruptcy Court, Eastern
District of New York, 290 Federal Plaza, Central Islip, New York, ll722, (a)(i) through the
Bankruptcy Court’s electronic filing system (in accordance with General Order M-242), which
may be accessed (with a password which is available by contacting the Bankruptcy Court’s
technical assistance at 631-712-6200, Monday through Friday, 8:30 a.m. to 5:00 p.m.) through
the Internet at the Bankruptcy Court’s website: www.nvcb.uscourls.g<')v using Netscape
Navigator software version 3.0 or higher, and (ii) in portable document format (PDF) using
Adobe Exchange software for conversion; or (b) if a party is unable to file electronically, such
party shall submit the objection in PDF format on a diskette in an envelope with the case name,
case number, type and title of document, document number of the document to which the

objection refers, and the file name on the outside of the envelope; or (c) if a party is unable to file

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electronically or use PDF format, such party shall submit the objection on a diskette in either
Word, WordPerfect, or DOS text (ASC II) format. An objection filed by a party with no legal
representation shall comply with section (b) or (c) as set forth in this paragraph. A hard copy of
the objection, whether filed pursuant to section (a), (b), or (c), as Set forth in this paragraph, shall
be hand-delivered directly to the Chambers of the Honorable Louis A. Scarcella, and served so as
to be received by Peter Corey, Esq., 2950 Express Drive South, Suite 109, Islandia, New York
1 1749 by no later than the 2nd of JANUARY , 2018.

Dated: December 6, 2017
Islandia, New York

RICHARD L. STERN, P.C.
Attorneys for Debtor

By: /s‘/ Peter Corep
Peter Corey, Esq.

2950 Express Drive South
Suite 109

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(631) 549-7900

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UNITED STATES BANKRUPTCY COURT Return Date: January 9, 2018

 

EASTERN DISTRICT OF NEW YORK Time: 10:00 am
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In re: Case No.: l7-7499l-1as
JOHN M. HOEK,
Debtor.
X

 

APPLICATION IN SUPPORT OF MOTION FOR AN ORDER AVOIDING
THE LIENS OF CITIBANK. N.A AND ALADDIN FUEL SERVICE. INC.

PETER COREY, ESQ., the undersigned as attorney affirms the following under penalties of
perjury:

l. l am an Associate of the firm of Richard L. Stern, P.C., attorneys for the Debtor
in the above-captioned proceeding, and l am fully familiar with all the facts and circumstances
herein.

2. l submit this application in support of an Order pursuant to ll U.S.C. §506
reclassifying the mortgage claim of Citibank, N.A., and determining that the liens held by
Citibank, N.A. and Aladdin Fuel Service, Inc. against the real property known as 543 Bayport
Avenue, Bayport, NY 11705 are void.

3. The Debtor, John M. Hoek, resides at 543 Bayport Avenue, Bayport, NY 11705
(the “Property”).

4. The Debtor owns the Property, which has a fair market value of $315,000.00. A
copy of an appraisal of the Property is annexed hereto as Exhibit “A”.

5. Upon information and belief, ABN Amro Mortgage Group, Inc./Planet Home
Lending holds the first mortgage on the Property.

6. Based upon a mortgage statement from Planet Home Lending dated August 17,
2017, made part of this motion as Exhibit “B”, ABN Amro Mortgage Group, Inc. is owed

approximately $316,760.50 on the first mortgage.

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7. Citibank, N.A. holds the second mortgage on the Property. The horne equity
loan dated August 10, 2006 dated (“Mortgage #2”) was originally filed in the Suffolk County
Clerk’s Office on August 30, 2006 under Liber M00021373, Page 280 in the amount of
$42,000.00. Annexed as Exhibit “C” is a transcript of the recording of Mortgage #2. Based
upon a statement from Citibank, N.A. dated December 16, 2016, Citibank, N.A. is owed
approximately $38,846.65, see Exhibit “D”.

8. Prior to the Debtor’s bankruptcy filing, Aladdin Fuel Service, lnc. received a
judgment against the Debtor in the amount of $2,299.51. The transcript of this judgment is
annexed as Exhibit “E”.

9. Because there is no equity in the Property to attach to the mortgage lien of
Citibank, N.A., and the judicial lien of Aladdin Fuel Service, Inc., it is submitted that their claims
are fully unsecured pursuant to ll U.S.C. §506 and such liens are void.

WHEREFORE, in view of the foregoing, it is respectfully requested that this Court enter an
Order reclassifying the mortgage claim of Citibank, N.A. as unsecured, and finding that the liens
held by Citibank, N.A. and Aladdin Fuel Service, Inc. are void, along with such other and further
relief as this Court deems just and proper.

Dated: December 6, 2017
Islandia, New York
RlCHARD L. STERN, P.C.
Attorneysfor Debt0r

By:/s/ Peter Corev
PETER COREY, ESQ.
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